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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

ERIK GARCIA,                                         )
                                                     )
                       Plaintiff,                    )
                                                     )        CIVIL ACTION
vs.                                                  )
                                                     )        Case No.
88 PEARS LLC,                                        )
                                                     )
                       Defendant.                    )

                                         COMPLAINT

       COMES NOW, ERIK GARCIA, by and through the undersigned counsel, and files this,

his Complaint against Defendant, 88 PEARS LLC, pursuant to the Americans with Disabilities

Act, 42 U.S.C. § 12181 et seq. (“ADA”) and the ADA’s Accessibility Guidelines, 28 C.F.R. Part

36 (“ADAAG”). In support thereof, Plaintiff respectfully shows this Court as follows:

                                        JURISDICTION

       1.      This Court has original jurisdiction over the action pursuant to 28 U.S.C. §§ 1331

and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et seq., based upon Defendant’s

failure to remove physical barriers to access and violations of Title III of the ADA.

                                            PARTIES

       2.      Plaintiff, ERIK GARCIA (hereinafter “Plaintiff”) is, and has been at all times

relevant to the instant matter, a natural person residing in Houston, Texas (Harris County).

       3.      Plaintiff is disabled as defined by the ADA.

       4.      Plaintiff is required to traverse in a wheelchair and is substantially limited in

performing one or more major life activities, including but not limited to: walking and standing.

       5.      Plaintiff uses a wheelchair for mobility purposes.



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       6.        Plaintiff is also an independent advocate of the rights of similarly situated

disabled persons and is a “tester” for the purpose of enforcing Plaintiff’s civil rights, monitoring,

determining and ensuring whether places of public accommodation are in compliance with the

ADA. His motivation to return to a location, in part, stems from a desire to utilize ADA

litigation to make Plaintiff’s community more accessible for Plaintiff and others; and pledges to

do whatever is necessary to create the requisite standing to confer jurisdiction upon this Court so

an injunction can be issued correcting the numerous ADA violations on this property, including

returning to the Property within six months after it is accessible (“Advocacy Purposes”).

       7.        Defendant, 88 PEARS LLC (hereinafter “88 PEARS LLC”), is a Texas limited

liability corporation that transacts business in the State of Texas and within this judicial district.

       8.        Defendant, 88 PEARS LLC, may be properly served with process for service via

its Registered Agent, to wit: c/o C T Corporation System, Registered Agent, 1999 Bryan Street,

Suite 900, Dallas, TX 75201.

                                   FACTUAL ALLEGATIONS

       9.        On or about July 5, 2020, Plaintiff was a customer at “Main Street Vapor” a

business located at 5517 W. Broadway Street, Pearland, TX 77581, referenced herein as “Main

Street Vapor”.     Attached is a receipt documenting Plaintiff’s purchase. See Exhibit 1. Also

attached is a photograph documenting Plaintiff’s visit to the Property. See Exhibit 2.

       10.       Defendant, 88 PEARS LLC, is the owner or co-owner of the real property and

improvements that Main Street Vapor is situated upon and that is the subject of this action,

referenced herein as the “Property.”

       11.       Plaintiff lives 16 miles from the Property.

       12.       Plaintiff’s access to the business(es) located 5517 W. Broadway Street, Pearland,



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TX 77581, Harris County Property Appraiser’s property identification number 237446 (“the

Property”), and/or full and equal enjoyment of the goods, services, foods, drinks, facilities,

privileges, advantages and/or accommodations offered therein were denied and/or limited

because of his disabilities, and he will be denied and/or limited in the future unless and until

Defendant, 88 PEARS LLC, is compelled to remove the physical barriers to access and correct

the ADA violations that exist at the Property, including those set forth in this Complaint.

          13.   Defendant, 88 PEARS LLC, as property owner, is responsible for complying with

the ADA for both the exterior portions and interior portions of the Property. Even if there is a

lease between Defendant, 88 PEARS LLC, and the tenant allocating responsibilities for ADA

compliance within the unit the tenant operates, that lease is only between the property owner and

the tenant and does not abrogate the Defendant’s independent requirement to comply with the

ADA for the entire Property it owns, including the interior portions of the Property which are

public accommodations. See 28 CFR § 36.201(b).

          14.   Plaintiff has visited the Property at least once before as a customer and advocate

for the disabled. Plaintiff intends on revisiting the Property within six months after the barriers

to access detailed in this Complaint are removed and the Property is accessible again. The

purpose of the revisit is to be a return customer, to determine if and when the Property is made

accessible and to maintain standing for this lawsuit for Advocacy Purposes.

          15.   Plaintiff intends on revisiting the Property to purchase goods and/or services as a

return customer living in the near vicinity as well as for Advocacy Purposes, but does not intend

to re-expose himself to the ongoing barriers to access and engage in a futile gesture of visiting

the public accommodation known to Plaintiff to have numerous and continuing barriers to

access.



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       16.     Plaintiff travelled to the Property as a customer and as an independent advocate

for the disabled, encountered the barriers to access the Property that are detailed in this

Complaint, engaged those barriers, suffered legal harm and legal injury, and will continue to

suffer such harm and injury as a result of the illegal barriers to access present at the Property.

                                      COUNT I
                          VIOLATIONS OF THE ADA AND ADAAG

       17.     On July 26, 1990, Congress enacted the Americans with Disabilities Act 42

U.S.C. § 12101 et seq.

       18.     Congress found, among other things, that:

       (i)     some 43,000,000 Americans have one or more physical or mental
               disabilities, and this number is increasing as the population as a whole is
               growing older;

       (ii)    historically, society has tended to isolate and segregate individuals with
               disabilities, and, despite some improvements, such forms of discrimination
               against individuals with disabilities continue to be a serious and pervasive
               social problem;

       (iii)   discrimination against individuals with disabilities persists in such critical
               areas as employment, housing public accommodations, education,
               transportation, communication, recreation, institutionalization, health
               services, voting, and access to public services;

       (iv)    individuals with disabilities continually encounter various forms of
               discrimination, including outright intentional exclusion, the discriminatory
               effects of architectural, transportation, and communication barriers,
               overprotective rules and policies, failure to make modifications to existing
               facilities and practices, exclusionary qualification standards and criteria,
               segregation, and relegation to lesser service, programs, activities, benefits,
               jobs, or other opportunities; and

       (v)     the continuing existence of unfair and unnecessary discrimination and
               prejudice denies people with disabilities the opportunity to compete on an
               equal basis and to pursue those opportunities for which our free society is
               justifiably famous, and costs the United States billions of dollars in
               unnecessary expenses resulting from dependency and non-productivity.

42 U.S.C. § 12101(a)(1) - (3), (5) and (9).


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       19.     Congress explicitly stated that the purpose of the ADA was to:

       (i)     provide a clear and comprehensive national mandate for the elimination of
               discrimination against individuals with disabilities;

       (ii)    provide a clear, strong, consistent, enforceable standards addressing
               discrimination against individuals with disabilities; and

               *****

       (iv)    invoke the sweep of congressional authority, including the power to
               enforce the fourteenth amendment and to regulate commerce, in order to
               address the major areas of discrimination faced day-to-day by people with
               disabilities.

42 U.S.C. § 12101(b)(1)(2) and (4).

       20.     The congressional legislation provided places of public accommodation one and

a half years from the enactment of the ADA to implement its requirements.

       21.     The effective date of Title III of the ADA was January 26, 1992 (or January 26,

1993 if a defendant has 10 or fewer employees and gross receipts of $500,000 or less). 42 U.S.C.

§ 12181; 28 C.F.R. § 36.508(a).

       22.     The Property is a public accommodation and service establishment.

       23.     Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

Department of Justice and Office of Attorney General promulgated federal regulations to

implement the requirements of the ADA. 28 C.F.R. Part 36.

       24.     Public accommodations were required to conform to these regulations by January

26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181 et seq.; 28 C.F.R. § 36.508(a).

       25.     The Property must be, but is not, in compliance with the ADA and ADAAG.

       26.     Plaintiff has attempted to, and has to the extent possible, accessed the Property in



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his capacity as a customer at the Property as well as an independent advocate for the disabled,

but could not fully do so because of his disabilities resulting from the physical barriers to access,

dangerous conditions and ADA violations that exist at the Property that preclude and/or limit his

access to the Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA violations more

specifically set forth in this Complaint.

       27.     Plaintiff intends to visit the Property again in the very near future as a customer

and as an independent advocate for the disabled, in order to utilize all of the goods, services,

facilities, privileges, advantages and/or accommodations commonly offered at the Property, but

will be unable to fully do so because of his disability and the physical barriers to access,

dangerous conditions and ADA violations that exist at the Property that preclude and/or limit his

access to the Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA violations more

specifically set forth in this Complaint.

       28.     Defendant, 88 PEARS LLC, has discriminated against Plaintiff (and others with

disabilities) by denying his access to, and full and equal enjoyment of the goods, services,

facilities, privileges, advantages and/or accommodations of the Property, as prohibited by, and

by failing to remove architectural barriers as required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

       29.     Defendant, 88 PEARS LLC, will continue to discriminate against Plaintiff and

others with disabilities unless and until Defendant, 88 PEARS LLC, is compelled to remove all

physical barriers that exist at the Property, including those specifically set forth herein, and make

the Property accessible to and usable by Plaintiff and other persons with disabilities.

       30.     A specific list of unlawful physical barriers, dangerous conditions and ADA



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violations which Plaintiff experienced and/or observed, or was made aware of prior to the filing

of this Complaint, that precluded and/or limited Plaintiff’s access to the Property and the full and

equal enjoyment of the goods, services, facilities, privileges, advantages and accommodations of

the Property include, but are not limited to:

ACCESSIBLE ELEMENTS:

       (i)     Near Suite A, the access aisle to the accessible parking space is not level due to

               the presence of an accessible ramp in the access aisle in violation of Section 502.4

               of the 2010 ADAAG standards. This violation would make it dangerous and

               difficult for Plaintiff to exit and enter their vehicle while parked at the Property.

       (ii)    Near Suite A, the accessible curb ramp is improperly protruding into the access

               aisle of the accessible parking space in violation of Section 406.5 of the 2010

               ADAAG Standards. This violation would make it difficult and dangerous for

               Plaintiff to exit/enter their vehicle.

       (iii)   Near Suite A, there is a vertical rise in excess of ¼ inch at the base and top of the

               accessible ramp in violation of Sections 303.2 and 405.4 of the 2010 ADAAG

               standards. This violation would make it dangerous and difficult for Plaintiff to

               access public features of the Property.

       (iv)    Near Suite A, the accessible ramp lacks finished edges or edge protection in

               violation of Section 405.9 of the 2010 ADAAG standards. This violation would

               make it dangerous for Plaintiff to utilize this accessible ramp to access the units of

               the Property as he may fall from the side of the ramp without edge protection to

               stop him.




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 (v)      Near Suite E, the access aisle to the accessible parking space is not level due to

          the presence of an accessible ramp in the access aisle in violation of Section 502.4

          of the 2010 ADAAG standards. This violation would make it dangerous and

          difficult for Plaintiff to exit and enter their vehicle while parked at the Property.

 (vi)     Near Suite E, the accessible curb ramp is improperly protruding into the access

          aisle of the accessible parking space in violation of Section 406.5 of the 2010

          ADAAG Standards. This violation would make it difficult and dangerous for

          Plaintiff to exit/enter their vehicle.

 (vii)    Near Suite E, there is a vertical rise in excess of ¼ inch at the base of the

          accessible ramp in violation of Sections 303.2 and 405.4 of the 2010 ADAAG

          standards. This violation would make it dangerous and difficult for Plaintiff to

          access public features of the Property.

 (viii)   Near Suite E, the accessible ramp lacks finished edges or edge protection in

          violation of Section 405.9 of the 2010 ADAAG standards. This violation would

          make it dangerous for Plaintiff to utilize this accessible ramp to access the units of

          the Property as he may fall from the side of the ramp without edge protection to

          stop him.

 (ix)     Near Suite F, the access aisle to the accessible parking space is not level due to

          the presence of an accessible ramp in the access aisle in violation of Section 502.4

          of the 2010 ADAAG standards. This violation would make it dangerous and

          difficult for Plaintiff to exit and enter their vehicle while parked at the Property.

 (x)      Near Suite F, the accessible curb ramp is improperly protruding into the access

          aisle of the accessible parking space in violation of Section 406.5 of the 2010



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          ADAAG Standards. This violation would make it difficult and dangerous for

          Plaintiff to exit/enter their vehicle.

 (xi)     Near Suite F, the accessible ramp lacks finished edges or edge protection in

          violation of Section 405.9 of the 2010 ADAAG standards. This violation would

          make it dangerous for Plaintiff to utilize this accessible ramp to access the units of

          the Property as he may fall from the side of the ramp without edge protection to

          stop him.

 (xii)    Near Suite L, the access aisle to the accessible parking space is not level due to

          the presence of an accessible ramp in the access aisle in violation of Section 502.4

          of the 2010 ADAAG standards. This violation would make it dangerous and

          difficult for Plaintiff to exit and enter their vehicle while parked at the Property.

 (xiii)   Near Suite L, the accessible curb ramp is improperly protruding into the access

          aisle of the accessible parking space in violation of Section 406.5 of the 2010

          ADAAG Standards. This violation would make it difficult and dangerous for

          Plaintiff to exit/enter their vehicle.

 (xiv)    Near Suite L, the accessible ramp lacks finished edges or edge protection in

          violation of Section 405.9 of the 2010 ADAAG standards. This violation would

          make it dangerous for Plaintiff to utilize this accessible ramp to access the units of

          the Property as he may fall from the side of the ramp without edge protection to

          stop him.

 (xv)     Near Suite E, there is an accessible disabled parking space containing a sign

          indicating the accessible parking space is “Van Accessible,” however the

          dimensions and markings of the accessible parking space do not comply with the



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               van accessible dimensions and markings set forth in Section 502.2 of the 2010

               ADAAG standards. This violation would make it difficult for Plaintiff to locate an

               accessible parking space.

       (xvi)   There is an inadequate number of accessible parking spaces servicing this

               Property in violation of section 208.2 of the 2010 ADAAG Standards. There are

               approximately 101 total parking spaces requiring five accessible parking spaces

               on the Property but there are only four accessible parking spaces. This violation

               would make it difficult for Plaintiff to locate an empty accessible parking space.

       (xvii) Defendant fails to adhere to a policy, practice and procedure to ensure that all

               facilities are readily accessible to and usable by disabled individuals.

       31.     The violations enumerated above may not be a complete list of the barriers,

conditions or violations encountered by Plaintiff and/or which exist at the Property.

       32.     Plaintiff requires an inspection of the Property in order to determine all of the

discriminatory conditions present at the Property in violation of the ADA.

       33.     The removal of the physical barriers, dangerous conditions and ADA violations

alleged herein is readily achievable and can be accomplished and carried out without significant

difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42 U.S.C. § 12181(9); 28 C.F.R. § 36.304.

       34.     All of the violations alleged herein are readily achievable to modify to the

Property into compliance with the ADA.

       35.     Upon information and good faith belief, the removal of the physical barriers and

dangerous conditions present at the Property is readily achievable because the nature and cost of

the modifications are relatively low.

       36.     Upon information and good faith belief, the removal of the physical barriers and



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dangerous conditions present at the Property is readily achievable because Defendant, 88 PEARS

LLC, has the financial resources to make the necessary modifications. According to the Property

Appraiser, the Appraised value of the Property is $1,221,900.00.

       37.       The removal of the physical barriers and dangerous conditions present at the

Property is also readily achievable because Defendant has available to it a $5,000.00 tax credit

and up to a $15,000.00 tax deduction from the IRS for spending money on accessibility

modifications.

       38.       Upon information and good faith belief, the Property has been altered since 2010.

       39.       In instances where the 2010 ADAAG standards do not apply, the 1991 ADAAG

standards apply, and all of the alleged violations set forth herein can be modified to comply with

the 1991 ADAAG standards.

       40.       Plaintiff is without adequate remedy at law, is suffering irreparable harm, and

reasonably anticipates that he will continue to suffer irreparable harm unless and until Defendant,

88 PEARS LLC, is required to remove the physical barriers, dangerous conditions and ADA

violations that exist at the Property, including those alleged herein.

       41.       Plaintiff’s requested relief serves the public interest.

       42.       The benefit to Plaintiff and the public of the relief outweighs any resulting

detriment to Defendant, 88 PEARS LLC

       43.       Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees and costs of

litigation from Defendant, 88 PEARS LLC, pursuant to 42 U.S.C. §§ 12188 and 12205.

       44.       Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to grant

injunctive relief to Plaintiff, including the issuance of an Order directing Defendant, 88 PEARS

LLC, to modify the Property to the extent required by the ADA.



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 WHEREFORE, Plaintiff prays as follows:

 (a)   That the Court find Defendant, 88 PEARS LLC, in violation of the ADA and

       ADAAG;

 (b)   That the Court issue a permanent injunction enjoining Defendant, 88 PEARS

       LLC, from continuing their discriminatory practices;

 (c)   That the Court issue an Order requiring Defendant, 88 PEARS LLC, to (i) remove

       the physical barriers to access and (ii) alter the Property to make it readily

       accessible to and useable by individuals with disabilities to the extent required by

       the ADA;

 (d)   That the Court award Plaintiff his reasonable attorneys' fees, litigation expenses

       and costs; and

 (e)   That the Court grant such further relief as deemed just and equitable in light of the

       circumstances.

                                     Dated: July 29, 2020.

                                     Respectfully submitted,

                                     /s/ Douglas S. Schapiro
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